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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )    MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )    SECTION: “H” (5)
                                                    )
This document relates to:                           )
Barbara Earnest, 16-17144                           )


                                  ORDER AND REASONS

         Before the Court is the Sanofi Defendants’ Motion to Exclude Expert
Testimony of Dr. Linda Bosserman (Doc. 6130). The Court heard oral
argument on May 22, 2019. For the following reasons, the Motion is
GRANTED IN PART.


                                      BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that     manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer. Plaintiffs allege that the drug caused
permanent alopecia—in other words, permanent hair loss. Plaintiffs bring
claims       of   failure    to   warn,    negligent    misrepresentation,   fraudulent
misrepresentation, and more.
         The first bellwether trial of Plaintiff, Barbara Earnest, is set to begin
September 16, 2019. At trial, Plaintiff intends to introduce the expert
testimony of Dr. Linda Bosserman. Dr. Bosserman is a board-certified



1   Docetaxel is the generic version of Taxotere.
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specialist in internal medicine and oncology. 2 She has worked with hundreds
if not thousands of newly diagnosed breast cancer patients. 3 The Sanofi
Defendants have filed the instant Motion seeking to exclude Dr. Bosserman’s
opinion on how the medical community’s informed consent standards apply to
the facts of Earnest’s case. 4


                                 LEGAL STANDARD
      The admissibility of expert testimony is governed by Federal Rule of
Evidence 702, which provides as follows:
      A witness who is qualified as an expert by knowledge, skill,
      experience, training, or education may testify in the form of an
      opinion or otherwise if:

             (a) the expert’s scientific, technical, or other specialized
             knowledge will help the trier of fact to understand the
             evidence or to determine a fact in issue;

             (b) the testimony is based on sufficient facts or data;

             (c) the testimony is the product of reliable principles and
             methods; and

             (d) the expert has reliably applied the principles and
             methods to the facts of the case. 5

      The current version of Rule 702 reflects the Supreme Court’s decisions
in Daubert v. Merrell Dow Pharms., Inc. 6 and Kumho Tire Co. v. Carmichael. 7


2 Doc. 6608 at 1.
3 See id.
4 Defendants’ Motion addresses Dr. Bosserman’s testimony with respect to two other
Plaintiffs in addition to Barbara Earnest. These are Plaintiffs Antoinette Durden and Tanya
Francis. Plaintiff Durden was removed from the trial pool, and Plaintiff Francis’s case was
dismissed on summary judgment. Accordingly, to the extent Defendants’ Motion addresses
these Plaintiffs, their Motion is moot.
5 Fed. R. Evid. 702.
6 509 U.S. 579 (1993).
7 526 U.S. 137 (1999).



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The threshold inquiry in determining whether an individual may offer expert
testimony under Rule 702 is whether the individual has the requisite
qualifications. 8 After defining the permissible scope of the expert’s testimony,
a court next assesses whether the opinions are reliable and relevant. 9 As the
“gatekeeper” of expert testimony, the trial court enjoys broad discretion in
determining admissibility. 10
       First, to assess reliability, a court assesses whether the reasoning or
methodology underlying the expert’s testimony is valid. 11 The party offering
the testimony bears the burden of establishing its reliability by a
preponderance of the evidence. 12 Courts should exclude testimony based
merely on subjective belief or unsupported speculation.                       13   Courts must,
however, give proper deference to the traditional adversary system and the
role of the jury within that system.                    14   “Vigorous cross-examination,
presentation of contrary evidence, and careful instruction on the burden of
proof are the traditional and appropriate means of attacking shaky but
admissible evidence.” 15 After assessing reliability, a court assesses relevance. 16
In doing so, a court must determine whether the expert’s reasoning or




8 Wagoner v. Exxon Mobil Corp., 813 F. Supp. 2d 771, 799 (E.D. La. 2011); see also Wilson v.
Woods, 163 F.3d 935, 937 (5th Cir. 1999) (“A district court should refuse to allow an expert
witness to testify if it finds that the witness is not qualified to testify in a particular field or
on a given subject.”).
9 See United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010). See also Wellogix, Inc. v.

Accenture, L.L.P., 716 F.3d 867, 881–82 (5th Cir. 2013).
10 Wellogix, 716 F.3d at 881.
11 See Daubert, 509 U.S. at 592–93.
12 See Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).
13 See Daubert, 509 U.S. at 590.
14 See id. at 596.
15 Id.
16 Burst v. Shell Oil Co., 120 F. Supp. 3d 547, 551 (E.D. La. June 9, 2015).

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methodology “fits” the facts of the case and will thereby assist the trier of fact
in understanding the evidence. 17



                               LAW AND ANALYSIS

           At the outset, Defendants raise no objection to Dr. Bosserman’s
qualifications or credentials nor to her testimony regarding diagnoses or
treatment options. Sanofi has no objection to Dr. Bosserman opining on
Earnest’s diagnosis and what it means, for example, when a cancer has the
presence or absence of certain “receptors.” The only opinion at issue is Dr.
Bosserman’s case-specific informed consent opinion. Defendants argue that
this opinion would not be helpful to the jury.
           Defendants’ argument is grounded in the learned intermediary doctrine,
which provides that a manufacturer has no duty to warn a plaintiff but instead
only a duty to warn the treating physician. Defendants assert that the learned
intermediary doctrine turns on the testimony of a plaintiff’s prescribing
physician, not the testimony of a retained expert speculating about the
decision-making process. Defendants argue that the jury must “hear it from
the horse’s mouth”—from the prescribing physician and the patient. Based on
such testimony, the jury can make inferences about whether an inadequate
label caused Plaintiff’s injury or whether she would have taken Taxotere
regardless of whether Defendants warned of the risk of permanent hair loss
associated with the drug. In response, Plaintiff avers that Dr. Bosserman’s
opinions provide insight on how a reasonable physician should have navigated
the decision-making process with her patient. Plaintiff argues that under the
learned intermediary doctrine, subjective or objective evidence is appropriate.



17   Id.
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       Because Plaintiff’s treating physician, Dr. James Carinder, is available
to testify, Dr. Bosserman will not be allowed to opine on the facts of Earnest’s
case. Dr. Carinder can testify about how he would have responded to an
adequate warning from Defendants. 18 Dr. Bosserman, therefore, can testify
about the guidelines from the National Comprehensive Cancer Network and
what they require, and she can testify about the standard of care for physicians
for informing patients through the decision-making process; she cannot,
however, testify about the application of these principles to Earnest’s case.
       Defendants also argue that Dr. Bosserman cherry-picks the facts that
support her opinion and ignores those that do not, making her opinion
unreliable. Defendants rely on Konrick v. Exxon Mobil Corporation, 19 and the
Court finds this reliance misplaced. In Konrick, the court held that the experts
mischaracterized the studies they cited. 20 Defendants make no showing that
Dr. Bosserman mischaracterizes the contents of her sources the way the
experts did in Konrick.
       Defendants raise one argument that is comparable to Konrick. They aver
that Dr. Bosserman ignored reports of permanent alopecia associated with
non-Taxotere regimens. Dr. Bosserman testified, however, that she reviewed
articles comparing hair loss associated with different chemotherapy drugs. She
indicated that her report focused on Taxotere while other experts will focus on
non-Taxotere chemotherapy regimens. Thus, she did not purport to be an
expert on non-Taxotere chemotherapy regimens. She did not mischaracterize
any materials as in Konrick but instead admitted the reasonably limited scope




18 The Court makes no finding as to the admissibility of this evidence in a case where the
treating physician is unavailable.
19 2016 WL 439361 (E.D. La. Feb. 4, 2016).
20 See id. at *7, *13.

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of her expertise. Therefore, the Court rejects the notion that she ignored the
findings of permanent alopecia associated with non-Taxotere regimens.
      Lastly, Defendants argue that two categories of Dr. Bosserman’s
opinions do not fit the facts of the case. First, Defendants aver that in forming
certain opinions, Dr. Bosserman relied on “online predictive tools” that
estimate the benefits of different chemotherapy treatments. Defendants argue
that certain versions of these tools—specifically, “PredictUK 2.0” and
“ONCOassist”—are irrelevant as they were not available at the time Plaintiff
underwent chemotherapy and could not have played a role in the decision for
Plaintiff Earnest.
      In her report, Dr. Bosserman generally discusses the benefit of using
online tools in the creation of a treatment plan. Such general testimony is
permissible, although for reasons discussed herein, Dr. Bosserman will not be
permitted to testify about the use of these tools in connection with Earnest’s
case. On cross-examination, Defendants will have the opportunity to clarify
that PredictUK 2.0 and ONCOassist were not available in 2011, and
Defendants can illuminate any limitations associated with using online
predictive tools.
      Second, Defendants take issue with Dr. Bosserman’s opinion on the use
of cold caps to prevent hair loss. Defendants aver that Dr. Bosserman relies on
a 2018 study to make this point and Plaintiff underwent treatment years
before 2018. This argument falls flat. Dr. Bosserman is permitted to rely on
information produced after the date of Plaintiff’s treatment. The publication
date of an article says little about the reliability or relevance of the content
within it. The Court will permit Dr. Bosserman to offer general testimony on




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cooling caps, and on cross-examination, Defendants can highlight that the FDA
did not approve cooling caps until 2017.


                               CONCLUSION

      Accordingly, for the foregoing reasons, IT IS ORDERED that the Sanofi
Defendants’ Motion to Exclude Expert Testimony of Dr. Linda Bosserman
(Doc. 6130) is GRANTED IN PART.


      New Orleans, Louisiana this 5th day of August, 2019.




                                       JANE TRICHE MILAZZO
                                       UNITED STATES DISTRICT JUDGE




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